Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 1 of 10




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                         (Palm Beach Division)

                                   Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,

   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

            Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

               RECEIVER’S UNOPPOSED ELEVENTH INTERIM APPLICATION
                FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
                 REIMBURSEMENT OF EXPENSES TO THE RECEIVER AND
              HIS PROFESSIONALS; INCORPORATED MEMORANDUM OF LAW

            Pursuant to paragraph 52 of Section XIII of the Order Granting Plaintiff Securities and

   Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

   Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

   receiver (the “Receiver”) for Natural Diamonds Investment Co (“NDIC”), Eagle Financial

   Diamond Group (“EFDG”), and Argyle Coin, LLC (“Argyle”), submits his Eleventh Interim

   Application for allowance and payment of compensation and reimbursement of expenses for the

   quarterly period of April 1, 2022 through July 31, 2022.1

            The Receiver has conferred with the only entity that is still a party to this case, the

   Securities and Exchange Commission (the “SEC”), which does not oppose the relief requested.

   1
     Although only required to submit entries through the end of June, given that the receivership duties are drawing to
   a close, the Receiver has extended this request to include time for July to minimize what may be requested in what is
   expected to be the final fee application.
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 2 of 10



                          INTRODUCTION AND BRIEF BACKGROUND

          As with his quarterly status report filed contemporaneously with this application, the

   Receiver will not spend significant time here analyzing his prior accomplishments and will

   instead just briefly highlight his accomplishments this quarter. During this quarter, the Receiver

   and his team spent significant time fulfilling his mandate to distribute funds to the victims. The

   Thirteenth Quarterly Status Report has a more detailed explanation of the Receiver’s efforts

   during the quarter, and the specific details of the work of the Receiver and his professionals are

   described in more detail below and in the attached time sheets.

          Pursuant to this Court’s order authorizing the Receiver’s proposed distribution plan, the

   Receiver was holding $45,183.42 to pay the fees for the Receiver and his professionals to

   administer the estate through the end of the receivership, but the fees have exceeded the amount

   reserved, so the Receiver first proposed a 50% holdback on fees and is now proposing a 100%

   holdback on fees to ensure that the Receivership Estate has enough funds for any unforeseen

   issues, even if that means the Receiver and his counsel are not fully compensated. Because there

   is not enough remaining to pay the Receiver the fees incurred, the Receiver seeks approval of the

   entire fees incurred, but he proposes a complete holdback of payment of fees, but allowing all

   costs to be paid, until distribution is complete and the Receivership estate is closing, in the event

   unforeseen circumstances arise and require payment as the Receiver seeks to finish the

   distribution and close the estate.

          Importantly, because of the scarcity of funds, the Receiver has elected not to bill for his

   time in this quarter, and has performed his services without seeking compensation. Instead, he

   has allowed his professionals to bill their time.

                                   DESCRIPTION OF SERVICES



                                                       2
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 3 of 10




      I.       The Receiver

            The Receiver is a trial attorney who has served as a District Court receiver and receiver’s

   counsel in numerous SEC, FTC, and Commodity Futures Trading Commission cases during his

   nearly 30-year career. The Receiver is Chair of his law firm’s Receivership Practice Group and

   has served as the firm’s Managing Partner since the firm’s inception. Because the Receiver

   views receivership cases as serving the public’s interest, the Receiver agreed to substantially

   reduce his standard hourly rate of $695.00 per hour, which is what the Receiver charges his

   typical commercial clients, to $395.00 per hour for purposes of this case. The Receiver’s

   $395.00 hourly rate is currently one of the lower receiver rates in the Southern District of Florida

   in receivership cases. The Receiver also capped his rate during the life of this case.

            The Receiver also sought commensurate reductions from all of his professionals. The

   Receiver also obtained their agreement to cap their rates during the life of this case.

      II.      Information about this Fee Application

            This Application has been prepared in accordance with the SEC’s Billing Instructions for

   Receivers in Civil Actions Commenced by the SEC. Pursuant to the Billing Instructions, Exhibit

   A attached hereto is a Certification by the Receiver confirming, under oath, that this Fee

   Application complies with the SEC’s Billing Instructions.

            Exhibit B attached hereto is the updated quarterly Standardized Fund Accounting Report,

   also known as the SFAR, which is the SEC’s accounting form required in civil receivership

   actions commenced by the SEC.

            Exhibit C attached hereto memorializes the professional services rendered by the

   Receiver’s professionals, and the necessary and reasonable non-reimbursed out-of-pocket costs

   attendant to their services, which are described more fully below.

            Exhibit D is a proposed Order granting this Fee Application.

                                                     3
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 4 of 10




      III.      The Receiver’s Counsel and Their Services

             Pursuant to paragraph 50 of Section XIII of the Appointment Order, the Receiver was

   required to obtain permission from this Court to retain his legal counsel. On July 10, 2019, the

   Receiver filed his Motion to Employ Legal Counsel (the law firms of Sallah Astarita & Cox,

   LLC (the “Sallah Firm”) and Silver Law Group (the “Silver Firm”)), which was resolved by

   agreed order [DE 126]. The Sallah Firm and Silver Firm did not incur fees in this quarter.

             The Receiver’s firm (Levine Kellogg Lehman Schneider + Grossman LLP) has agreed to

   similar reductions and a cap of $350.00 during the life of this case.           The Receiver has

   endeavored to prevent duplication of efforts by his attorneys.

             As stated above, the professional services rendered by the Receiver’s firm, and the

   necessary and reasonable non-reimbursed out-of-pocket costs attendant to those services, are

   described in more detail on Exhibit C. Exhibit C was prepared based on the Receiver’s firm’s

   contemporaneous daily time records, and includes a daily description of the services rendered,

   the hours expended, and the attorney’s reduced hourly rate. The Receiver’s partner, Stephanie

   Reed Traband, who serves as co-counsel, billed a total of 58 hours, at a reduced hourly rate of

   $350.00 per hour, for a total of $20,300.00. Associates Marcelo Diaz-Cortes and Gabriel

   Lievano spent 6.7 and 7.9 hours respectively at a reduced rate of $275.00 per hour, for a total of

   $3,740.00 for associate time. Finally, the Receiver’s paralegal billed a total of 37.20 hours, at a

   reduced hourly rate of $150.00 per hour, for a total of $5,580.00. Exhibit C also reflects that the

   Receiver’s firm incurred costs of $1,524.36 during the subject period.

             The schedules of disbursements for expenses, which are also part of the attached

   Exhibits, are those actual and necessary expense items, such as photocopy charges, long distance

   telephone charges, telecopy charges, delivery charges, website maintenance expenses, and

   various other expenses incurred in connection with this matter. All of these expense items would

   typically be billed by the Receiver and his professionals to their general commercial clients.
                                                    4
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 5 of 10




        IV.      Summary Chart

              For the Court’s convenience, the following is a summary of the total fees and costs of the

   Receiver and his professionals during the subject period covered by this Fee Application:

   Name                                  Hours         Fees             Expenses         Total
   Receiver                              Pro bono      Pro bono         $0               $0


   Levine Kellogg              108.8                   $29,620.00       $1,524.36        $31,144.36
   Lehman Schneider + Grossman
   LLP
   Total                       108.8                   $29,620.00       $1,524.36        $31,144.36



   V.         Applicable Legal Standard and Analysis

              In determining attorneys’ fees, a court must (1) determine the nature and extent of the

   services rendered; (2) determine the value of those services; and (3) consider the factors set forth

   in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5th Cir. 1974). See Grant v.

   George Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee

   award case addressing the issue of attorney’s fees generally before considering specific

   requirements in the bankruptcy context).         The twelve factors set forth in Johnson, a case

   involving an award of attorneys’ fees under Federal civil rights statutes, as incorporated by the

   Eleventh Circuit in Grant, a bankruptcy case, are: (1) the time and labor required; (2) the

   novelty and difficulty of the questions presented; (3) the skill required to perform the legal

   services properly; (4) the preclusion of other employment by the attorney due to acceptance of

   the case; (5) the customary fee for similar work in the community; (6) whether the fee is fixed or

   contingent; (7) time limitations imposed by the client or by the circumstances; (8) the amount

   involved and results obtained; (9) the experience, reputation, and ability of the attorney; (10) the

   undesirability of the case; (11) the nature and length of the professional relationship with the


                                                      5
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 6 of 10




   client; and (12) awards in similar cases.

          A.      The Time and Labor Required

          The foregoing summary description, together with the time records attached hereto, detail

   the time, nature, and extent of the professional services rendered by the Receiver and his

   professionals during the period covered by this Application. The Receiver and his professionals

   believe that the time spent is justified by the results that have been achieved thus far. The

   Receiver and his professionals believe they have played a significant role during the course of

   this proceeding and will continue to do so in the future.

          B.      The Novelty and Difficulty of the Questions Presented

          This case required a high level of skill to secure receivership assets and to carry out the

   Receiver’s many duties.

          C.      The Skill Requisite to Perform the Services Properly

          In order to perform the required services, substantial legal skill and experience in the

   areas of commercial law and litigation were required of the Receiver and his professionals. The

   Receiver is acutely aware of the financial considerations arising in receiverships such as this.

   Accordingly, as this Court may gather from the Exhibits attached hereto, the Receiver has staffed

   the administration of this case efficiently under the direction and immediate supervision of the

   Receiver.

          D.      The Preclusion of Other Employment Due to This Case

          Although the Receiver and his professionals were not explicitly precluded as a result of

   this case from accepting other matters, matters in this case were treated by the Receiver and his

   professionals in an expeditious and professional manner. Also, this case required the Receiver

   and his professionals to devote a significant amount of time to this case, to the preclusion of

   expending time on other active matters.
                                                    6
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 7 of 10




          E.      The Customary Fee

          The hourly rates of the Receiver and his professionals set forth on the attached exhibits

   reflect a rate that is generally lower than the hourly rates billed by the Receiver and his

   professionals to clients in other cases, as well as rates that are consistent with or even lower than

   other receivers and their retained law firms in similar matters.            The Receiver’s and his

   professionals’ reduced rates have been confirmed and approved in many other matters in which

   the Receiver and his professionals have been involved.

          F.      Whether the Fee Is Fixed or Contingent

          The compensation of the Receiver and his professionals is subject to the approval of this

   Court, and the Receiver and his professionals did not receive any compensation for their services

   for more than 18 months because there were insufficient funds in the receivership accounts

   during that time. The above factors should be taken into consideration by this Court, and the

   compensation should reflect the assumption of the risk of non-payment and delay in payment.

          G.      The Time Limitations Imposed

          This case imposed some time limitations on the Receiver and his professionals due to the

   necessity for rapid resolutions of issues.

          H.      The Experience, Reputation, and Ability of the Professionals

          The Receiver and his professionals enjoy a fine reputation and have proven substantial

   ability in the fields of equity receiverships, litigation, and business reorganization.

          I.      The “Undesirability” of the Case

          This case is not the least bit undesirable, and the Receiver and his professionals are

   honored and privileged to serve in this case.

          J.      The Nature and Length of Professional Relationship

          The Receiver and his professionals have had no prior relationship with the parties in this
                                                     7
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 8 of 10




   case prior to the initial related proceeding of the Corporate Monitor Action.

          K.      Awards in Similar Cases

          The amounts requested by the Receiver and his professionals are not unreasonable in

   terms of awards in cases of similar magnitude and complexity. The compensation requested by

   the Receiver and his professionals comports with the mandate of applicable law, which directs

   that services be evaluated in light of comparable services performed in other cases in the

   community. As stated above, the hourly rates requested by the Receiver and his professionals

   are generally lower than the ordinary and usual hourly rates billed by the Receiver and his

   professionals to not only their ordinary clients, notwithstanding the risks associated with this

   case, but also other receivers and their retained firms who bill at higher hourly rates.

          L.      The Source of Payment for the Amounts Sought Hereunder

          The amounts for which payment is requested hereunder shall be paid, if available, from

   funds that are held in the Argyle receivership bank account. The Argyle receivership account

   was previously funded with the approximate $2 million in settlement monies from Relief

   Defendants Winners Church/the Shipmans and has been further funded with the Froehlich

   $750,000 settlement funds and the funds from the sale of the diamonds and pieces of jewelry he

   has secured in this proceeding.

                                             CONCLUSION

          The Receiver respectfully requests that this Court enter the proposed Order, attached as

   Exhibit D, approving this Eleventh Fee Application of payment and reimbursement of the

   requested fees and costs, allowing the Receiver to pay LKLSG its expenses, and otherwise,

   holding back payment of fees until and if such time that there may additional funds available,

   and for such other relief that is just and proper.



                                                        8
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 9 of 10




                                  LOCAL RULE CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3), the Receiver hereby certifies that he has conferred with

   counsel for the SEC. The SEC consents to the relief requested herein.



    Dated: August 15, 2022                           Respectfully submitted,
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                                                        s/ Stephanie Reed Traband
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                                                               -and-

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on August 15, 2022, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel of record or pro se parties identified on the attached Service List in
   the manner specified, either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
   to receive electronically Notices of Electronic Filing.
                                                          By: /s/ Stephanie Reed Traband
                                                             STEPHANIE REED TRABAND
                                                    9
Case 9:19-cv-80633-RLR Document 328 Entered on FLSD Docket 08/15/2022 Page 10 of 10




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                                              10
